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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


    DAVID DICKENS                                 §
                                                  §
    v.                                            §            CASE NO. 4:17cv642
                                                  §            (Judge Mazzant)
    J.G. WENTWORTH HOME                           §
    LENDING, LLC                                  §

                                      ORDER OF REFERENCE

.          IT IS HEREBY ORDERED that this case be referred to a United States Magistrate Judge

    for all further proceedings and the entry of judgment in accordance with 28 U.S.C. Section 636(c)

    and the foregoing consent of the parties.

           IT IS SO ORDERED.
            SIGNED this 13th day of February, 2018.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
